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1                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF ILLINOIS
2                                 EASTERN DIVISION

3     DONALDSON TWYMAN,                          )   Docket No. 16 C 04182
                     Plaintiff,                  )   Chicago, Illinois
4                                                )   May 31, 2017
                  v.                             )   9:56 a.m.
5                                                )
      S&M AUTO BROKERS, INC., SAED               )
6     IHMOUD and MOHAMMED IHMOUD,                )
                    Defendants.                  )
7

8                          TRANSCRIPT OF PROCEEDINGS
                    BEFORE THE HONORABLE VIRGINIA M. KENDALL
9

10    APPEARANCES:

11    For the Plaintiff:            DiTOMMASO LUBIN PC by
                                    MR. PETER SCOTT LUBIN
12                                  MR. ANDREW MURPHY
                                    17 W 220 22nd Street, Suite 410
13                                  Oakbrook Terrace, Illinois 60181

14    For the Defendants:           JAMES J. ROCHE AND ASSOCIATES by
                                    MR. JAMES J. ROCHE
15                                  642 North Dearborn
                                    Chicago, Illinois 60610
16
      For the Respondent            NORTHCUTT FIRM, PC by
17    Donald Szczesniak:            MR. TIMOTHY KEISER
                                    105 West Adams Street, Suite 2800
18                                  Chicago, Illinois 60603

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21
      Court Reporter:               GAYLE A. McGUIGAN, CSR, RMR, CRR
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1     A P P E A R A N C E S :        (Continued)

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3

4     For Joel Brodsky:             GORDON & REES LLP by
                                    MR. RYAN THOMAS BROWN
5                                   MR. BRIAN M. ROTH
                                    One North Franklin, Suite 800
6                                   Chicago, Illinois 60606

7                                   LOPEZ & LOPEZ LTD by
                                    MR. JOSEPH R. LOPEZ
8                                   53 West Jackson Blvd., Suite 1651
                                    Chicago, Illinois 60604
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1          (Proceedings heard in open court:)

2                THE CLERK:     16 C 4182, Twyman versus S & M Auto.

3                MR. ROCHE:     Good morning, your Honor.          James Roche for

4     the defendant.      I just filed my appearance a couple weeks ago.

5                THE COURT:     Tell me your name again?         James Roche?

6                MR. ROCHE:     Roche.    R-O-C-H-E.      James.

7                THE COURT:     Okay.    Good morning.

8                MR. IHMOUD:      Good morning, your Honor.

9                THE COURT:     Good morning.

10               MR. IHMOUD:      Mohammed --

11               MR. ROCHE:     My client.

12               COURT REPORTER:       I'm sorry, I can't hear you.

13               MR. IHMOUD:      Mohammed Ihmoud from S & M Auto.

14               THE COURT:     So he's the defendant principal.

15               Good morning.

16               MR. LOPEZ:     Good morning, your Honor.          Joseph Lopez

17    for Mr. Brodsky.

18               THE COURT:     Okay.    Good morning.

19               MR. ROTH:     Good morning, your Honor.         Brian Roth for

20    Mr. Brodsky.

21               THE COURT:     Okay.

22               COURT REPORTER:       I'm sorry, your name?

23               MR. BROWN:     My apologies.      Ryan Brown of

24    Gordon & Rees.

25               THE COURT:     Okay.    Good morning.
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1                MR. KEISER:      Good morning, your Honor.         Timothy Keiser

2     on behalf of Donald Szczesniak, filling in for Lance Northcutt

3     this morning.

4                THE COURT:     Okay.    Good morning.

5                MR. MURPHY:      Andrew Murphy on behalf of plaintiff.

6                THE COURT:     Good morning.

7                MR. LUBIN:     Pete Lubin on behalf of plaintiff.

8                THE COURT:     Okay.    All right, folks.

9                So I received a flurry of various motions, as you

10    know, going back and forth over the last couple weeks, trying

11    to sort through whether we're having our hearing on a

12    particular day and who is representing whom.

13               And it's my understanding that -- let me just make

14    sure I get all the understanding.

15               I know that you, Mr. Lopez, want to come in in order

16    to represent Mr. Brodsky at the hearing.

17               MR. LOPEZ:     That's correct.

18               THE COURT:     But you don't want the hearing date of

19    June 8.

20               MR. LOPEZ:     Judge, well, actually June 9th.

21               THE COURT:     Oh, June 9th.      Okay.

22               MR. LOPEZ:     Because I have a previous commitment, I

23    can't be here that day --

24               THE COURT:     Okay.

25               MR. LOPEZ:     -- or I would be here.
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1                THE COURT:     And then, Mr. Roche, you have taken over

2     for Mr. Brodsky; is that correct?

3                MR. ROCHE:     Yes, your Honor.       And if I could inject,

4     your Honor?

5                THE COURT:     Please.

6                MR. ROCHE:     When my client hired me -- we represent 70

7     new car dealers.       This is not unknown to us.

8                However, your Honor, when I looked at the record and

9     heard the story, it's like the voice of reason somehow has

10    gotten lost in this case.

11               THE COURT:     Oh, I think that it's been right here all

12    along.    (Indicating.)

13               MR. ROCHE:     So I -- what I tried to do, your Honor, is

14    reach out to, you know, ten different attorneys on the case.

15    Last week I was the guest of Judge Durkin for a week.                We just

16    finished on Friday on his case.           So I've been playing a little

17    bit of a catch-up.       But never in my wild imagination would I

18    expect ten attorneys on a car -- $10,000 used car that maybe

19    was in an accident or maybe it wasn't.

20               But on the other hand, I don't know how this got so

21    out of whack, but -- so the only thing I could think of, your

22    Honor, to try and put Humpty Dumpty back together again is my

23    suggestion would be we stay all these motions, don't use up

24    this Court's time on this tit-for-tat going back and forth.

25    Maybe we can stay those motions.           And I'd love to have a
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1     settlement conference.        My client wants to settle this case,

2     move on with his life, and try to make some money selling cars,

3     not spending more time in the United States District Court than

4     most licensed attorneys do.

5                THE COURT:     Right.

6                MR. ROCHE:     So that's my thought.

7                THE COURT:     Let me give, before the plaintiffs speak

8     regarding what I'm sure will be their determination to hold the

9     hearing, remember that a contempt hearing is a hearing that I

10    am completely capable of holding and have jurisdiction over

11    regardless of the status of the case, because the Court has

12    control over her courtroom and has the ability to find an

13    attorney in contempt of court regardless of the underlying

14    matter.    Jurisdiction does not divest if the case is settled or

15    if the case is appealed.

16               So that's something that I bet many of you did not

17    realize, but that is something that I can make a determination

18    regarding without holding your client hostage, so to speak.

19               And I did bring your client in before for the reason

20    that I wanted him to see what was going on, because a case of

21    this size should not have been something that he would be

22    responsible for.

23               MR. ROCHE:     Well, I think that was an excellent idea,

24    your Honor, because it kind of broke the log jam to bring us

25    where we are, and I purposely motioned up before your June 9th
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1     date in the hopes that we could save all this energy and time.

2                Look at the attorney's fees we're spending just --

3                THE COURT:     Right.

4                MR. ROCHE:     -- this morning.

5                THE COURT:     But the accusations that have been filed

6     against your client -- your client -- who is the expert's

7     attorney -- your client -- are severe, and he has a reputation

8     to maintain, the accusations against the attorneys in the case

9     are significant, and they have their integrity and licenses to

10    maintain, which is why I have said before:             If someone wants to

11    make those types of accusations, do so in good faith, or you

12    yourself will be the one that is held in contempt, which is why

13    we're in the situation that we are in today.

14               So let me hear from plaintiff's attorneys first as to

15    what your desire, or not desire, of trying to sit down with

16    Mr. Roche to resolve the matter and what your position is

17    regarding the hearing and where we stand, okay?

18               MR. MURPHY:      Your Honor, we're not opposed to

19    settlement.     We just don't want the rumor of settlement being

20    out there to delay resolution of the sanctions motion.                 And I

21    know there's a motion pending to withdraw some of the

22    sanctionable pleadings --

23               THE COURT:     Well, it's not pending.         I denied it.      I

24    denied the motion to withdraw the pleadings.

25               MR. MURPHY:      I thought they filed a joint renewed
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1     motion.

2                THE COURT:     Oh, well, maybe -- I've got a number of

3     them.

4                What I have on my plate, which I was going to go

5     through, is:     I have the plaintiff's corrected motion to

6     supplement the sanctions motion; I have the plaintiff's motion

7     to supplement the sanctions motion; I have the plaintiff's Rule

8     11 motion; the joint renewed motion to withdraw certain

9     filings; and the motion for continuance of the hearing; and the

10    plaintiff's response in opposition to the motion for

11    continuance of the hearing; and a motion to set a settlement

12    conference.

13               So that's where we stand today.

14               MR. MURPHY:      The plaintiff is not opposed to engaging

15    in settlement discussions.         We're not even opposed to having a

16    settlement conference.        We just don't want to delay resolution

17    of the sanctions motion, and we don't think that having

18    settlement discussions requires delaying the resolution of that

19    sanctions motion.

20               THE COURT:     Okay.    Anyone else -- what is your

21    position?

22               MR. KEISER:      We have no objection to the defense --

23    the defense's attempt to withdraw the motions with respect to

24    Mr. Szczesniak.

25               THE COURT:     Yeah.
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1                MR. KEISER:      However, I believe there was some

2     correspondence between the attorneys this morning regarding

3     basically the absence of Mr. Szczesniak's appearance and only

4     pursuing some of the sanctions that did not involve he or his

5     family.

6                THE COURT:     Okay.    So the way that I see the situation

7     is that -- I've always said the case should sit down for

8     settlement.     It is a case that should be settled.            It's

9     something that has facts on each side that you can discuss.

10               I know that plaintiff's attorney has wanted punitive

11    damages as one of the accusations, which has really been the

12    stick in the mud, so to speak, in that he alleges a pattern of

13    behavior as opposed to simply this one incident, but it did get

14    out of control.

15               So I would be happy to sit down with you to attempt to

16    settle the case if you want, or I can get one of my colleagues

17    to do so.

18               I don't think we're going to get into a magistrate

19    judge right away.       Who do we have on the case?

20               THE CLERK:     Judge Finnegan.

21               THE COURT:     Oh.    Well, maybe Judge Finnegan would do a

22    favor for me and see all of you in a short period of time.

23               As far as the sanctions motion, I'll look at the

24    jurisdictional issue again; but my recollection from the last

25    time that I dealt with this issue is that the Court always has
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1     jurisdiction over protecting the integrity of the proceedings

2     before her, and that's why I would not just get rid of it.

3                 Now, that doesn't mean that you can't discuss, as part

4     of settlement, some types of withdrawal of claims.               I mean,

5     that's part of what strategy is.           But that's not up to me.

6                 My decision is to protect the integrity of this

7     courtroom, and I will do that if that's what is left.

8                 So I wouldn't worry about you not getting your

9     hearing, unless you choose not to get your hearing, in a

10    discussion, okay?       So that's number one.

11                Number two, I'm all about trying to get you to settle

12    your matter, because you should.

13                If you want, I can see if Judge Finnegan will sit down

14    with you quickly, or you can come with me and I will sit down

15    with you at some point and try to get it resolved.

16                As far as the June 8th date, I know that that was a

17    problem for you -- 9th.         I keep saying 8th.

18                The problem that I have with moving that date is that

19    I have an international trip with a law school the week -- the

20    following week, and then I'm on trial.            So I'm trying to fit

21    you in someplace that would work.           And I can explore that as

22    well, but it would be -- it would be in a short period of time.

23                When is your next trial?

24                MR. LOPEZ:     In this building?      July --

25                THE COURT:     Well, no, one that you're going to tell me
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1     is a conflict.

2                 MR. LOPEZ:     Well, Judge, I have conflicts every day.

3     Just -- this is a personal family date on the 9th.

4                 THE COURT:     I know.

5                 MR. LOPEZ:     I will make -- I mean, I will -- I

6     should -- if you're -- do you want to do it in June?

7                 THE COURT:     So I have a trial beginning on the 19th,

8     and it's possible that it will -- it's possible it will end the

9     end of the month.       It's possible that the last three days of

10    the week of Independence Day, like 5, 6, and 7, we could fit

11    something in there.        Maybe the 7th of July.

12                MR. LOPEZ:     I'm available.

13                MR. BROWN:     As am I.

14                THE COURT:     Gentlemen, can you move it to the 7th of

15    July?

16                MR. KEISER:     We've resolved our claims against the

17    defendant, your Honor.

18                THE COURT:     So you're done?

19                MR. KEISER:     That's our sincere goal is to be done.

20                THE COURT:     Okay.

21                MR. BROWN:     Just as someone who has worked with all of

22    these lawyers, and I do feel like we've made progress, and made

23    progress even this morning outside of your courtroom, I --

24    there has been a resolution with Mr. Szczesniak, and our hope

25    would be that neither he nor his family members need to
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1     participate, understanding, of course, that your Honor

2     maintains jurisdiction over everyone who was involved.

3                 And we certainly have a copy of a transcript from

4     April 12th that you were very clear on along those lines.

5                 Mr. Lubin, who understandably has some concerns about

6     some comments that were made about him, we had a discussion

7     outside about some of the difficulty of withdrawing to the

8     extent that the Court -- what the Court would allow us to

9     withdraw.

10                Also, as Mr. Brodsky is no longer counsel for us --

11    and our hope would be the motion for substitution is granted --

12    some of those comments were made in response for summary

13    judgment.     We would want to make sure with the Court that we

14    aren't waiving our ability to respond to the extent we either

15    withdraw that filing or otherwise amend it.

16                But I'm happy to say on the record, and something

17    Mr. Lubin wanted, was that we will absolutely amend or withdraw

18    with respect to criminal enterprise or calling Mr. Lubin a

19    criminal.

20                There are some other issues that we certainly still

21    need to work through with respect to acknowledging certain

22    aspects and the ties that we view in terms of attorney's fees

23    to the sanctions component.

24                But Mr. Brodsky isn't here today in part because we

25    asked him not to be because there is some personal animosity
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1     between the lawyers.

2                 THE COURT:     Oh, you're kidding.

3                 MR. BROWN:     But he recognizes that he needs to make

4     amends with the Court and come before the Court.

5                 THE COURT:     Right.

6                 MR. BROWN:     So we're not looking to simply sweep this

7     under the rug.

8                 THE COURT:     Right.    And it's not just amends towards

9     the Court.     It's all about just this is a very special place.

10                MR. BROWN:     It is.

11                THE COURT:     And this is where lawyers act like

12    lawyers, and their word means something when they speak it to

13    me.

14                So the motion to substitute counsel is granted.

15                Do you want to talk out in the hallway and tell me

16    after you speak with each other whether I should seek my

17    colleague, Judge Finnegan, to meet with you, or if you would

18    like to meet with me?        Why don't you talk about that?          Because

19    you haven't had that as a proposal.

20                MR. ROCHE:     Judge, we had a conversation outside the

21    Court, and I thought Mr. Lubin and I --

22                MR. LUBIN:     We hadn't quite finished, so that would be

23    a good idea.

24                THE COURT:     Why don't you go out --

25                MR. LUBIN:     The only other thing I would like to say,
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1     Judge, is, first of all, I have not engaged in personal

2     animosity with Mr. Brodsky.          I consciously, throughout this

3     case when it started, never addressed one of his emails.                 I

4     only talked to him on the phone for ten minutes, and I was

5     friendly.     So the record really is that there is no personal

6     animosity on my part.        It's defending my reputation.

7                 And the only other thing I'll say -- then my

8     colleague, Mr. Murphy, is really going to handle this -- is

9     that I didn't ask him just to withdraw the pleadings, because

10    those are in the public record forever, and I don't know how

11    you withdraw something and someone makes abusive comments and

12    you make a finding that they were abusive.             You have to -- it's

13    just like a libel lawsuit --

14                THE COURT:     Well, that's why they're not withdrawn by

15    the Court at this moment.

16                MR. LUBIN:     Right.    So my only point is this:        I asked

17    that if he wants to show true contrition -- that's what they

18    claim, they've told me, when they've discussed with me -- he

19    wants to show contrition.

20                The only way you show contrition is say:            I made false

21    statements that had no basis, I called an officer of the court

22    a criminal, not once, not twice, but like 20 times, in

23    pleadings and emails, on the record, and he says I apologize.

24    And then that's a start for whatever sanction or contempt

25    hearing starts with.
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1                 And that's the only thing I -- so we have not resolved

2     anything with regard to me because, frankly, no one has ever

3     called me a criminal in a court proceeding, and I consciously

4     didn't respond when he did it in court for about six to eight

5     months because I thought it would just stop.              And I thought,

6     since we couldn't settle the case -- which, believe me, that

7     was our goal from the beginning, to -- because I settle all

8     these cases.      I take two of them, three of them to trial ever,

9     these car cases --

10                THE COURT:     Okay.   I think that you have some

11    reasonable voices here in the courtroom today that might aid

12    you in discussing it on a different level.

13                MR. LUBIN:     I agree.

14                THE COURT:     And that is something that I encourage you

15    to do.    And I am grateful that they are on board.

16                And so why don't you all go out into the hallway and

17    discuss how you would like to proceed.

18                I will be available at a time.          I'm very, very booked

19    with trials, but I will work something out if you want me.                 And

20    I'm confident I can get, if not Judge Finnegan, one of my full

21    active colleagues will do me a favor in order to resolve

22    something like this so that we can get it done.               All right?

23                MR. LUBIN:     The only other thing that would be

24    guidance, I think, that would be helpful for all of us would be

25    what -- what did you have entailed that you needed to have a
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1     hearing on, that you said the Court had the inherent power,

2     because those are things we can't settle --

3                 THE COURT:     But I think that that's pretty obvious

4     from the record.

5                 MR. LUBIN:     Okay.

6                 THE COURT:     So any time that there was a motion that

7     the other attorney was lying and misstating facts and

8     misrepresenting the truth to the Court is a time where I have

9     the authority to determine whether that is accurate or not.

10    And if the person who accuses the other of wrongdoing is

11    actually falsely accusing the other one of wrongdoing, that

12    individual is subjected to the same contempt proceeding, in my

13    opinion, because he would have been misrepresenting to the

14    Court.

15                So it would be a fact determination based upon the

16    accusations and allegations that were made.

17                And some of those were primarily against your client

18    who was the expert, saying that he had done some illegal and

19    improper and fabricated things.           Some of those were just the

20    defamatory statements against you, that you were some type of

21    criminal, some type of -- whatever the terms were that were in

22    the filings.      And then you returning to him saying those were

23    all false against him, and that's your motion for sanctions.

24    It's pretty clear.       Right?

25                You stand in front of me, I look at you as a lawyer,
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1     and that degree means something to me.            When your word comes

2     out, it's the truth; and if it's not, you will be subjected to

3     sanctions.     Okay?

4                 So go out in the hallway and come back and tell Lynn

5     whether you want to see me about a settlement.              Okay?    Thanks.

6          (Proceedings concluded at 10:13 a.m.)

7                                C E R T I F I C A T E

8          I certify that the foregoing is a correct transcript of the

9     record of proceedings in the above-entitled matter.

10

11
      /s/ GAYLE A. McGUIGAN_____________                     July 19, 2017
12    Gayle A. McGuigan, CSR, RMR, CRR                               Date
      Official Court Reporter
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